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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA ex rel. PCA                )
INTEGRITY ASSOCIATES, LLP                           )
                    Plaintiff,                      )    Civil Action No. 1:15-cv-00750
                                                    )
       vs.                                          )    Judge Rudolph Contreras
                                                    )
NCO FINANCIAL SYSTEMS, INC. et al.                  )
                   Defendants.                      )
                                                    )



                                NOTICE OF APPEARANCE

       Pursuant to LCvR 83.6(a), Jonathan D. Shaffer hereby gives notice of his entry of

appearance as counsel for Defendant Pioneer Credit Recovery, Inc. (“Pioneer”) in the above-

captioned case.


Dated: February 21, 2019                By: /s/ Jonathan D. Shaffer
                                            Jonathan D. Shaffer (D.C. Bar No. 424614)
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                                 CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was filed electronically via the

CM/ECF system on the 21st day of February 2019.

                                                     /s/ Jonathan D. Shaffer
